                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA

MONG’S DAIRY, a Division of
SCHNEIDER’S DAIRY, INC.,

                      Plaintiff,
                                                      Case No.: 2:20-cv-00382-AJS
    v.
TEAMSTERS LOCAL UNION NO. 205,

                      Defendant,

                   MOTION FOR JUDGMENT ON THE PLEADINGS

       AND NOW, comes Defendant, Teamsters Local Union No. 205, by and through its

attorney, R. Anthony Deluca, Esq., and Pursuant to Federal Rule of Civil Procedure 12(c) submits

this Memorandum in Support of its Motion for Judgment on the Pleadings:

       1. Plaintiff has filed a Complaint (Doc. 1).

       2. Defendant has filed an Answer to the Complaint (Doc. 6).

       3. The pleadings are closed.

       4. Based upon the pleadings, the Defendant is entitled to judgment as a matter of law.

       WHEREFORE, Defendants respectfully request this Honorable Court grant this Motion

for Judgment on the Pleadings and dismiss Plaintiff’s Complaint with Prejudice.




                                                      Respectfully Submitted,

                                                      s/R. Anthony DeLuca_______________
                                                      R. Anthony DeLuca, Esquire
                                                      Attorney for Defendant
